






IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN



                       




NO. 3-92-136-CR




DEBORAH ANNE KINGWOOD,



	APPELLANT


vs.





THE STATE OF TEXAS,



	APPELLEE


                       



FROM THE COUNTY COURT AT LAW NO. 2 OF BELL COUNTY, 


NO. 2C91-99,156, HONORABLE JOHN BARINA, JUDGE


                       





PER CURIAM

	The court found appellant guilty of assault and assessed punishment at incarceration
for sixty days and a $500 fine.  Tex. Penal Code Ann. § 22.01 (1989 &amp; Supp. 1992).  The court
suspended imposition of sentence and placed appellant on probation.

	Appellant's court-appointed attorney filed a brief in which he concludes that the
appeal is frivolous and without merit.  The brief meets the requirements of Anders v. California,
386 U.S. 738 (1967), by presenting a professional evaluation of the record demonstrating why
there are no arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988);
Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969); Jackson v. State, 485 S.W.2d 553
(Tex. Crim. App. 1972); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974); High v.
State, 573 S.W.2d 807 (Tex. Crim. App. 1978).  A copy of counsel's brief was delivered to
appellant, and appellant was advised of her right to examine the appellate record and to file a pro
se brief.  No pro se brief has been filed.

	We have carefully reviewed the record and counsel's brief and agree that the appeal
is frivolous and without merit.  Further, we find nothing in the record that might arguably support
the appeal.

	The judgment of conviction is affirmed.


[Before Chief Justice Carroll, Justices Aboussie and B. A. Smith]

Affirmed

Filed:&nbsp; June 24, 1992

[Do Not Publish]


